Case 1:01-cv-12257-PBS Document 6195-20 Filed 06/26/09 Page 1of5

TAB 19
Case 1:01-cv-12257-PBS Document 6195-20 Filed 06/26/09

Page 2 of 5

Condensed Transcript

SUPERIOR COURT
COMPLEX LITIGATION
DOCKET at TOLLAND
Docket No. X07 CV-XX-XXXXXXX-S (CLD)
STATE OF CONNECTICUT,
Plaintiff,

vs.

DEY, INC., ROXANE LABORATORIES, INC.,

WARRICK PHARMACEUTICALS CORP.,

SCHERING-PLOUGH CORP.

AND SCHERING CORPORATION,
Defendants.

LOLOL OY Od SOS DOS ad at ad al td

CONFIDENTIAL DEPOSITION OF
JOHN POWERS

October 11, 2005
9:10 a.m.

52 East Gay Street
Columbus, Ohio

Lori M. Barnes, RPR

setdepo

Streamlined - Centralized - Standardized
The Evalution of Deposition Management

Nationwide Scheduling
Toll Free: 1.800.451.3376
Facsimile: 1.888.451.3376
www.setdepo.com

Case 1:01-cv-12257-PBS Document 6195-20 Filed 06/26/09 Page 3 of 5

John Powers October 11, 2005
49 51
1 get approval from anyone as high as Ed Tupa, 1 book; is that correct?
2 the vice president of marketing, or the vice 2 A. Yes.
3 president of finance. I'm trying to get a 3 Q. So, over time if a particular
4 little more grasp on this concept — a little 4 product continues to lose or is not awarded
5 more information as to what you generally 5 on contracts, then that may create a
6 understood these pricing guidelines to be. 6 situation where you and the contract
7 There were separate pricing guidelines for 7 department may re-evaluate a particular floor
8 different products or markets That's really 8 bid price for a particular product?
9 where I'm going with this question. 9 A. Yes.
10 A. There were different strategies for 10 Q. Do the floor bid prices that we're
11 different markets. There were, of course, 11 talking about that existed. for each NDC
12 different prices for different products, 12 number have any other names at Roxane?
13 different customers. And relative to contract 13 A. There was a minimum bid price.
14 prices, a floor, a bottom bid price, was 14 Q. And isn't it true, then, that
15 created for each product or NDC. 15 minimum bid price is essentially what we've
16 Q. And the floor bid price, is that 16 been calling the floor bid price?
17 specific to the product? 17 A. You could say that, yes.
18 A. Yes. 18 Q. Are there any differences between
19 Q. Soit's not specific to the type 19 the two that you can recall?
20 of customer ordering the product; is that 20 A. The terminology we use is minimum.
21 correct? 21 bid price.
22 A. Correct. 22 Q. And with respect to the minimum
23 Q. Did you participate in the 23 bid price, did it mean exactly what it says,
24 calculation or determination or management of | 24 minimum bid price? Was it a price that below
25 the floor bid price? 25 which contracts could not price a particular
50 52
1 A. Yes. 1 NDC product?
2 Q. What was your role in establishing 2 A. We were able to propose alternate
3 or maintaining the floor bid price 3 prices with the approval of the product
4 information? 4 manager, the vice president of marketing and
5 A. Establishing it. 5 the vice president of finance.
6 Q. And how did you do that? 6 Q. And was that a written process?
7 A. Areview of competitive pricing 7 A. Yes.
8 information, consultation with product 8 Q. And would it require your
9 management and company management, vice 9 signature?
10 president of marketing, finance. 10 A. Yes.
11 Q. And with respect to competitive 11 Q. And also the signatures or
12 pricing information as to the establishment of 12 sign-offs of the heads of those other
13 floor bid prices, is that the same type of 13 departments?
14 competitive information that we talked about 14 A. Yes.
15 earlier that was used when you were 15 Q. And in what situations would Roxane
16 establishing an offer price? 16 go beneath the minimum bid price for
17 A. Correct. 17 particular NDC product?
18 Q. Were there any other additional 18 A. As aminimum bid price was
19 types of information that were used to 19 established, we all understood it was a fluid
20 establish these floor bid prices? 20 number. And in the event an opportunity for
21 A. We would look over time at the 21 significant sales or sales retention was
22 success rate of winning contracts at offered 22 jeopardized by the continuation of a bid
23 prices, which may affect a change in the 23 price that was no greater than that minimum
24 minimum bid price. 24 bid price, all of us were challenged to
25 Q. And that gets back to the bid 25 support why we felt a different bid price

Nationwide Scheduling

— set ad e po Toll Free: 1.800.451.3376

Facsimile: 1.888.451.3376

Streamlined + Centralized - Standardized www-setdepo-com
The Evolution of Deposition Management

Case 1:01-cv-12257-PBS Document 6195-20 Filed 06/26/09 Page 4 of 5

John Powers October 11, 2005
53 55
1 needed to be considered, either for one 1 A. No.’
2 particular offer or a general change in the 2 Q. Are you familiar with any price
3 minimum bid price. 3 utilized at Roxane that is subject to either
4 Q. And when minimum bid prices were 4 federal or state reporting regulations?
5 being established or re-evaluated for change, 5 A. Yes.
6 did you get input from the individuals at 6 Q. Which price is that?
7 Roxane who were responsible for manufacturing [ 7 A. Any prices offered are reported to
8 a particular NDC? 8 the federal government for Medicaid
9 A. Rarely. 9 reimbursement.
10 Q. Did you get information about how 10 Q. And would that include NBPs?
11 much it actually costs to produce the NDC? 11 A. No. :
12 A. We had that information available 12 Q. Would it include wholesale
13 to us. 13 acquisition costs?
14 Q. And where did you get that 14 A. Yes.
15 information from? 15 Q. Would it include average wholesale
16 A. The computer system. There was a 16 price?
17 particular program in which we could look at 17 A. | don't believe so, no.
18 the component costs per NDC, and the printed 18 Q. Other than wholesale acquisition
19 bid book also included cost information. 19 costs, what other prices is it your
20 Q. And was that cost information 20 understanding that those reporting requirements
21 updated on a regular basis? 21 encompass?
22 A. _ As the bid book was reprinted, you 22 A. Selling prices.
23 would see any changes that had occurred in 23 Q. And do those selling prices reflect
24 the cost structure of that product. 24 rebates, discounts or free goods?
25 Q. Were there situations during your 25 A. Yes.
54 56
1 time period at Roxane in the contract 1 Q. And how is Roxane's system set up
2 department where the department reviewed all 2 to track these rebates, discounts or free
3 of the minimum bid prices for all of its 3 goods so that these prices are reported
4 products? 4 accurately?
5 A. Yes. 5 MR. COVAL: Objection to the form.
6 Q. When did that occur? 6 A. My understanding is that the
7 A. On at least a quarterly basis. 7 accounting finance IT group created systems to
8 Q. What did that process involve? 8 capture the appropriate sales data creating a
9 A. Areview of contract sales by NDC 9 final report for the individuals responsible
10 as well as a review of awards and losses for 10 for providing that information to the federal
11 those NDCs. 11 government.
12 Q. And with respect to Roxane’s 12 Q. Do you know who was responsible
13 products, generally speaking, would the trend 13 for overseeing that creation of that data at
14 for minimum bid prices go down over time or 14 Roxane?
15 go up over time? 15 A. Over time it was the responsibility
16 A. For generic prices the minimum bid 16 of the heads of the three departments that |
17 prices generally went down. 17 mentioned.
18 Q. Sowe talked about minimum bid 18 Q. And those three departments were
19 price here a little bit. Are you familiar 19 finance ~
20 with whether the minimum bid price is 20 A. -- accounting and IT.
21 regulated by either state or federal 21 Q. Would those selling prices that are
22 regulations? 22 reported pursuant to those regulations, did
23 A. No. 23 they also reflect administrative fees that may
24 Q. You are not familiar with that 24 have been paid to various Roxane customers?
25 topic? 25 MR. COVAL: Object to form. Go

Nationwide Scheduling

S et d e p Oo Toll Free: 1.800.451.3376

Facsimile: 1.888.451.3376

Streamlined - Centralized - Standardized www-setdepo-com
The Evolution of Deposition Management

Case 1:01-cv-12257-PBS Document 6195-20 Filed 06/26/09 Page 5 of 5

John Powers

October 11, 2005.

The Evolution of Deposition Management

197 199
1 other than Cyclophosphamide? 1 Q. I'm sorry, 19787
2 A. Today | have, yes. 2 A. No.
3 Q. But in your normal operations or 3 Q. When did the interactions begin?
4 normal daily business activities with Roxane 4 A. don't recall.
5 do you recall seeing charts similar to this 5 Q. Was it in the 1990s?
6 for other products? 6 A. May have been.
7 A. | don't recall. 7 Thereupon, Powers Exhibit-24 was
8 Q. So you may have, but you just 8 marked for purposes of identification.
9 can't recall as you sit here today, correct? 9 Q. John is reviewing a document that
10 A. That's correct. 10 is two pages long, RoxCT0051246 through
11 Q. Okay. That's it for 23. 11 RoxCT0051247. This is a-series of emails
12 Actually, if you would look at that real 12 starting back on April 28, 2000 at 11:30 a.m.
13 quick again, if you look at the second email, 13 — I'm sorry, 11:31 a.m., going through April
14 March 21, 2000, Tony Pera, P-E-R-A ~ 14 28, 2000, 2:20 p.m.
15 A. Yes. 15 A. Okay. I've read it.
16 Q. —he's with Roxane U.S., is that 16 Q. Okay. And do you recognize these
17 correct, based on the address? 17 series of emails as the type of communication
18 A. No, he's with BICLE. 18 you would come across during your tenure in
19 Q. Okay. What's BICLE mean to you? 19 the contract department at Roxane?
20 A. Boehringer Ingelheim, Cleveland. 20 A. Yes.
21 Q. And the same would be true for Tom =| 21 Q. Okay. And what are these emails?
22 Russillo? 22 A. _ It's regarding a possibility for a
23 A.  Russillo, yes. 23 contract price for Cyclophosphamide with Giant
24 Q. And so was it — In your dealings 24 Eagle.
25 with the contract department at Roxane, were | 25 Q. _ And that's based -- Your summary
198 - 200
1 there instances where you would interact with 1 of the document is based on your reading of
2 Boehringer Ingelheim employees? 2 it, correct?
3 MR. COVAL: Objection. 3 A. Correct.
4 Q. Let me ask it a different way. 4 Q. And when do you Jast recall seeing
5 Would you interact with Boehringer Ingelheim 5 this document prior to today, if at all?
6 employees during your normal operations in the 6 A. | don't recall the document at
7 Roxane contracting department? 7 all.
8 A. Yes. 8 Q. At the top of this is an email
9 Q, And who would some of those . 9 from you to Carl Ciardelli, correct?
10 employees, Boehringer Ingelheim employees, have | 10 A. Yes.
11 been? 11 Q. It is dated April 28, 2000?
12 A. My boss, Gregg Cirelli at this 12 A. Yes.
13 time was a Boehringer Ingelheim employee. 13 Q. So at least as to that portion it
14 Q. And when did Boehringer Ingelheim 14 was prepared by you, correct?
15 purchase or take over Roxane, as far as you 15 A. Yes.
16 can recall? 16 MR. COVAL: Jeff, I’m going to
17 MR. COVAL: Objection to form. 17 register a continuing objection to a
18 A. Boehringer Ingelheim purchased 18 discussion of Cyclophosphamide. The plaintiffs
19 Phillips Roxane Laboratories in 1978. 19 in this case were ordered by the Court to
20 Q. And you started in 1977, correct? 20 identify the drugs at issue in the case and
21 A. Yes. 21 had an opportunity to do so, and this isn't
22 Q. Did you interact with Boehringer 22 one. | want to register a continuing
23 Ingelheim employees dating as far back as 23 objection with respect to any discussion on
24 1977? 24 drugs that are not at issue in this case.
25 A. No. 25 MR. GOLDENBERG: Just so — |
d Nationwide Scheduling
— T Toll Free: 1.800.451.3376
. S c e p oO Facsimile: 1.888.451.3376
Streamlined - Centralized - Standardized www:setdepo-com
